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GOVERNMENT EXHIBIT 3
                     Case 1:21-cr-00225-DLF Document 40-3 Filed 05/16/22 Page 2 of 2

From:                     treniss8000 <treniss8000@gmail.com>
Sent:                     12/24/2020 8:22:00 AM -0600
To:
Subject:                  Re: Saw You In DC TODAY


I will be back in DC 4th-7th or 8th. I will be defending the rights of my countrymen. I understand your position on new
members, it has been explained to me by Trisha. I look forward to meeting you guys.



Sent from my T-Mobile 4G LTE Device



-------- Original message --------
From:
Date: 12/13/20 10:23 AM (GMT-06:00)
To: treniss8000 <treniss8000@gmail.com>
Subject: Re: Saw You In DC TODAY

Sir,

We appreciate your interest in the Central Texas Proud Boys Chapter. As an organization we made the decision to not accept any new members
until after Feb 2021.

Merry Christmas 🎅🏼
Happy New Year 🎭

The CenTex PB’s wish you are yours all the best!

Regards,
TP

Sent from ProtonMail Mobile


On Sat, Dec 12, 2020 at 14:07, treniss8000 <treniss8000@gmail.com> wrote:

       I want in, how do we fight commies and liberals?



       Sent from my T-Mobile 4G LTE Device




X-Gmail-Labels:                     Deleted,Trash
Return-Path:                        <treniss8000@gmail.com>
Received:

                                                                                      Thu, 24 Dec 2020 06:22:01 -0800 (PST)
Message-ID:                         <5fe4a409.1c69fb81.9745d.d27d@mx.google.com>
SavedFromEmail:                     treniss8000@gmail.com
In-Reply-To:

Importance:                         normal
MIME-Version:                       1.0
Content-Type:                       multipart/alternative; boundary="--_com.samsung.android.email_1724224144167250"
